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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE NEW
 YORK TIMES COMPANY AND CHARLIE                          Miscellaneous Action No. 22-100 (BAH)
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL BRIEFING,                        (consolidated with
 AND ARGUMENT TRANSCRIPTS                                Miscellaneous Action No. 22-104)
 ANCILLARY TO JANUARY 6 GRAND
 JURY PROCEEDINGS                                        Chief Judge Beryl A. Howell


                                              ORDER

       Upon consideration of petitioners The New York Times and Charlie Savage’s

Application for Access to Certain Dockets, Orders, Legal Briefing and Argument Transcripts

Ancillary to January 6 Grand Jury Proceedings, ECF No. 1, petitioners Politico and Kyle

Cheney’s Application for Order Allowing Disclosure of All Documents Related to the January 6

Grand Jury Investigation, No. 22-mc-104, ECF No. 1, the legal memoranda in support of and

opposition to the applications, the exhibits submitted in support of the applications, and the entire

record herein, for the reasons stated in the accompanying Memorandum Opinion, the requested

dockets, any judicial decisions, and any associated filings ancillary to those proceedings concern

matters currently before a grand jury in this District and thus, at this time, are subject to secrecy,

pursuant to Federal Rule of Criminal Procedure 6(e)(2), and no exception enumerated in Rule

6(e)(3) applies to authorize disclosure. Accordingly, it is hereby—

       ORDERED that petitioners’ Applications are DENIED without prejudice; it is further

       ORDERED that the government shall submit to the Court, by 5 p.m. on February 23,

2023, proposed redactions outlined in red box to the Memorandum Opinion that are necessary

before prompt disclosure to petitioners; it is further




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       ORDERED that the government shall submit to the Court, by 5 p.m. on February 23,

2023, proposed redactions to its Sealed Opposition, ECF No. 10, with redactions consistent with

the Memorandum Opinion and this Order; and it is further

       ORDERED that the Clerk of the Court is directed to close this case.

       SO ORDERED.

       This is a final and appealable Order.

       Date: February 23, 2023

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                                                   BERYL A. HOWELL
                                                   Chief Judge




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